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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

  UNITED STATES OF AMERICA

  v.                                           Case No. 8:24-cr-21-WFJ-CPT

  ALEXANDER LIGHTNER

          MEMORANDUM OF THE UNITED STATES OF AMERICA
            CONCERNING FORFEITURE SPECIAL VERDICT

       The United States of America submits this memorandum in conjunction with

 the proposed special forfeiture verdict and forfeiture jury instructions.

                          MEMORANDUM OF LAW

       The United States seeks forfeiture of a firearm silencer which is subject to

 forfeiture pursuant to the Indictment.

       If defendant Alexander Lightner is convicted of the offense charged in Count

 Two of the Indictment, and if the defendant request a jury determination on

 forfeiture pursuant to Rule 32.2(b)(5) of the Federal Rules of Criminal Procedure,

 this memorandum outlines the procedure the government proposes that the court

 take with regard to the special verdict on forfeiture.

                              MEMORANDUM OF LAW

 I.    Background

       In pertinent part, Count Two charges the defendant with Possession of an

 Unregistered Firearm), in violation of 26 U.S.C. § 5861(d). Doc. 16. The forfeiture

 allegations of the Indictment notified the defendant that, under the provisions of 26
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 U.S.C. § 5872 and 28 U.S.C. § 2461(c), the United States intended to pursue

 forfeiture of the asset identified above.

 II.    Applicable Statutes

        Criminal forfeiture in this case is authorized by 26 U.S.C. § 5872 and 28

 U.S.C. § 2461(c), which provides that, upon conviction for a violation of 26 U.S.C. §

 5861(d), any firearm involved in the violation, is subject to forfeiture. Pursuant to 28

 U.S.C. § 2461(c), the government is authorized to forfeit this property criminally,

 and the procedures for the forfeiture and disposition of such property are governed

 by 21 U.S.C. § 853.

 III.   Forfeiture Proceeding

        Because forfeiture is an element of sentencing, there exists no constitutional

 right to a jury determination for forfeiture. See United States v. Libretti, 516 U.S. 29, 49

 (1995) (“the nature of criminal forfeiture as an aspect of sentencing compels the

 conclusion that the right to a jury verdict on forfeitability does not fall within the

 Sixth Amendment’s constitutional protection”).

        Pursuant to Federal Rule of Criminal Procedure 32.2(b)(5), however, either

 defendant or the United States may request that the jury determine whether the

 government has established a nexus or connection between the property alleged

 subject to forfeiture and the crimes for which the defendant has been found guilty by

 the jury. This is the jury’s sole function in the forfeiture phase of the trial. It is no

 longer necessary for the jury to determine the extent of a defendant’s interest in the

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 property. Fed. R. Crim. P. 32.2, Advisory Committee Notes (2000 Adoption). That

 issue is left for the ancillary proceedings. Id.

        Ultimately, the Court orders the forfeiture of property, but the jury must

 answer questions which will allow the Court to make the appropriate findings. United

 States v. Amend, 791 F.2d 1120, 1128 (4th Cir.), cert. denied, 479 U.S. 930 (1986)

 (affirming method by which jury determined forfeitability and questions about

 whether property was acquired through criminal enterprise, but trial court entered

 order of forfeiture); United States v. L’Hoste, 609 F.2d 796, 813-14 (5th Cir.), cert.

 denied, 449 U.S. 833 (1980) (holding that forfeiture order is mandatory once jury

 determines essential factual issues required for forfeiture). The government’s

 proposed special verdict is in the form of an interrogatory which will assist the jury to

 determine the factual predicate for the forfeiture issues in this case, and to procure

 the information necessary for the court to enter a forfeiture order.

        Under this approach, the Court should not advise the jury of the ramifications

 of its decision regarding forfeiture, just as a jury is not advised of the ramifications of

 a verdict of guilt or innocence. Thus, the portion of the Indictment entitled

 “Forfeitures” should not be read to the jury, and the term “forfeiture” should not be

 mentioned to the jury until after the issue of innocence or guilt is decided. The

 portion of the Indictment entitled “Forfeitures” is merely the required statutory

 notice to the defendant that the government seeks to forfeit certain property in

 accordance with the applicable statute. Fed. R. Crim. P. 32.2(a), Advisory

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 Committee Notes (2000 Adoption and 2009 Amendment). Hence, bifurcated

 proceedings are required.

       At the forfeiture hearing following a conviction, the defendant and the

 government have the opportunity to present evidence with respect to the forfeitability

 of the property. As the Advisory Committee Notes to Fed. R. Crim. P. 32.2(b)(4)

 explain:

              For example, if the defendant disputes the government’s
              allegation that a parcel of real property is traceable to the
              offense, the defendants would have the right to request that
              the jury hear evidence on that issue, and return a special
              verdict, in a bifurcated proceeding that would occur after
              the jury returns the guilty verdict. The government would
              have the same option of requesting a special jury verdict
              on this issue, as is the case under current law.

       Id.

 IV.   Conclusion

       In conclusion, should the defendant request a jury determination on the

 forfeiture after conviction pursuant to Rule 32.2(b)(5) and the Court determine that

 such a determination is required, the government requests that the Court:

       (1)    instruct the jury on the issue of forfeiture after the jury has
              returned a guilty verdict on the violation charged Count
              Two of the Indictment;

       (2)    allow jury instructions regarding property subject to forfeiture
              and burden of proof;

       (3)    allow bifurcated argument on the forfeiture issue; and



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       (4)    provide the jury with a special verdict form as proposed by the
              government.

                                            Respectfully Submitted,

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                            CERTIFICATE OF SERVICE

       I hereby certify that on March 3, 2025, I electronically filed the foregoing with

 the Clerk of the Court by using the CM/ECF system which will send a notice of

 electronic filing to counsel of record.



                                           s/James A. Muench
                                           JAMES A. MUENCH
                                           Assistant United States Attorney




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